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                                                                                                   E-FILED
                                                                Thursday, 03 October, 2024 09:51:05 AM
                                                                           Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                 24-20425-CR-BLOOM/ELFENBEIN
                            CASE NO. _________
                                     18 U.S.C. § 875(c)
                                                                                        MP
                                     18 U.S.C. § 115(a)(l)(B)
                                     18 U.S.C. § 981(a)(l)(C)
                                                                            Sep 25, 2024
UNITED STATES OF AMERICA

vs.                                                                                        Miami


ERIC JAMES RENNERT,


_____________./
       Defendant.


                                       INDICTMENT

       The Grand Jury charges that:

                                          COUNT l

       On or about May 25, 2024, in St. Lucie County, in the Southern District ofFlorida,'and

elsewhere, the defendant,

                                 ERIC JAMES RENNERT,

did knowingly transmit in interstate and foreign commerce a communication containing a true

threat to kidnap and injure the person of another, that is, FEDERAL JUDGE 1, and the family of

FEDERAL JUDGE 1, with the intent to communicate a true threat of violence and with

recklessness as to whether the communication would be viewed as a true threat of violence, in

violation ofTitle 18, United States Code, Section 875(c).

                                          COUNT2

       On or about May 25, 2024, in St. Lucie County, in the Southern District ofFlorida, and

elsewhere, the defendant,

                                 ERIC JAMES RENNERT,
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did knowingly threaten to assault, kidnap, and murder FEDERAL JUDGE 1, a United States

Judge, with the intent to impede, intimidate, and interfere with FEDERAL JUDGE 1 while

engaged in the performance of official duties and with the intent to retaliate against FEDERAL

JUDGE 1 on account of the performance of official duties, in violation of Title 18, United States

Code, Section 115(a)(l)(B).

                                           COUNT3

       On or about May 28, 2024, in St. Lucie County, in the Southern District of Florida, and

elsewhere, the defendant,

                                  ERIC JAMES RENNERT,

did knowingly transmit in interstate and foreign commerce a communication containing a true

threat to kidnap and injure the person of another, that is, FEDERAL JUDGE 1, and the family of

FEDERAL JUDGE 1, with the intent to communicate a true threat of violence and with

recklessness as to whether the communication would be viewed as a true threat of violence, in

violation of Title 18, United States Code, Section 875(c).

                                           COUNT4

       On or about May 28, 2024, in St. Lucie County, in the Southern District of Florida, and

elsewhere, the defendant,

                                  ERIC JAMES RENNERT,

did knowingly threaten to assault, kidnap, and murder FEDERAL JUDGE 1, a United States

Judge, with the intent to impede, intimidate, and interfere with FEDERAL JUDGE 1 while

engaged in the performance of official duties and with the intent to retaliate against FEDERAL

JUDGE 1 on account of the performance of official duties, in violation of Title 18, United States

Code, Section 115(a)(l)(B).
                                                2
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                                             COUNTS

       On or about July 24, 2024, in St. Lucie County, in the Southern District of Florida, and

elsewhere, the defendant,

                                   ERIC JAMES RENNERT,


did knowingly transmit in interstate and foreign commerce a communication containing a true

threat to injure the person of another, that is, FEDERAL nIDGE 1, with the intent to communicate

a true threat of violence and with recklessness as to whether the communication would be viewed

as a true threat of violence, in violation of Title 18, United States Code, Section 875(c).

                                            COUNT6

       On or about July 24, 2024, in St. Lucie County, in the Southern District of Florida, and

elsewhere, the defendant,

                                   ERIC JAMES RENNERT,

did knowingly threaten to assault and murder FEDERAL JUDGE 1, a United States Judge, with

the intent to impede, intimidate, and interfere with FEDERAL nIDGE 1 while engaged in the

performance of official duties and with the intent to retaliate against FEDERAL JUDGE 1 on

account of the performance of official duties, in violation of Title 18, United States Code, Section

115(a)(l)(B).

                                FORFEITURE ALLEGATIONS

       1.       The allegations of this Indictment are hereby re-alleged and by this reference fully

incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

property in which the defendant, ERIC JAMES RENNERT, has an interest.

       2.       Upon conviction of a violation, or conspiracy to commit a violation, of Title 18,

United States Code, Sections.115 or 875, as alleged in this Indictment, the defendant shall forfeit
                                                  3
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   to the United States any property, real or personal, which constitutes or is derived from proceeds

   traceable to such offense, pursuant to Title 18, United States Code, Section 98l(a)(l)(C).

          All pursuant to Title 18, United States Code, Section 98l(a)(l)(C) and the procedures set

   forth in Title 21, United States Code, Section 853, as incorporated by Title 28, United States Code,

   Section 2461(c).

                                                        A TRUEBILL




   UNITED STATES ATTORNEY


   8��
   ELENA SMUKLE
   ASSISTANT UNITED STATES ATTORNEY


  £7_::__ ycrJL_.
�""" JOSEPH H. WHEELER, III
     SPECIAL ASSISTANT UNITED STATES ATTORNEY




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                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                                            ---------------
                                                                        CASE NO.: 24-20425-CR-BLOOM/ELFENBEIN
v.
                                                                        CERTIFICATE OF TRIAL ATTORNEY
ERIC RENNERT,
----------------I
                 Defendant.                                             Superseding Case Information:
Court Division (select one)                                             NewDefendant(s) (Yes or No) __
     ra:I Miami D Key West                    □ FTP                     Number of NewDefendants
          □
          FTL           WPB□                                            Total number of new counts
                        :
I do hereby certify that
 1.           I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
              witnesses and the legal complexities of the Indictment/Information attached hereto.
     2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
              their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

 3.           Interpreter: (Yes or No) No
              List language and/or dialect: -------
 4.           This case will take _3_ days for the parties to try.

 5.           Please check appropriate category and type of offense listed below:
              (Check only one)                         (Check only one)
              I   Iii O to 5 days                   □ Petty
              II   □  6 to 10 days                  □ Minor
              III  □ 11 to 20 days                  □ Misdemeanor
              IV [] 21 to 60 days                   l'B)] Felony
              V    □ 61 days and over

 6.  Has this case been previously filed in thisDistrict Court? (Yes or No) No
     If yes, Judge _____ ______ Case No. _______________
 7. Has a complaint been filed in this matter? (Yes or No) No
     If yes, Magistrate Case No. ___________
 8. Does this case relate to a previously filed matter in this District Court? (Yes or No) No
     If yes, Judge___________ Case No. ________________
 9. Defendant(s) in federal custody as of
 10. Defendant(s) in state custody as of
                                                        ----------------------
 11. Rule 20 from the _ ___District of __________
 12. Is this a potential death penalty case? (Yes or No) No
 13. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
     prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
 14. Does   this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior
     to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
 15. Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
     during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? No
 16. Did this matter involve the participation of or consultation with now Magistrate Judge Marta Fulgueira
     Elfenbein during her tenure at the U.S. Attorn s Offi               co                           lli.-
                                                                   :        � �-=
                                                                    :
                                                                           ELENA SMUKLER
                                                                           Assistant United States Attorney
                                                                           FL Bar No.        91025
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

                  Eric James
Defendant's Name: =:..::.....::;       Rennert
                                ==-=--== ==-'---------------------
Case No: -------------------------------

Count#: 1

Interstate Transmission of Threats

Title 18, United States Code 875(c)____________________
* Max.Term of Imprisonment: 5 years' imprisonment
*Mandatory Min.Term of Imprisonment (if applicable): N/A
*Max. Supervised Release: 3 years
* Max. Fine: $250,000

Count#: 2

Threatening to Assault, Kidnap, and Murder a United States Judge

Title 18, United States Code 1l5(a)(l)(B)_________________
*Max.Term of Imprisonment: 10 years' imprisonment
*Mandatory Min.Term of Imprisonment (if applicable): N/A
*Max. Supervised Release: 3 years
* Max.Fine: $250,000

Count#: 3

Interstate Transmission of Threats

Title 18, United.States Code 875(c)____________________
*Max.Term of Imprisonment: 5 years' imprisonment
* Mandatory Min.Term of Imprisonment (if applicable): N/A
*Max.Supervised Release: 3 years
* Max. Fine: $250,000

Count#: 4

Threatening to Assault, Kidnap, and Murder a United States Judge

Title 18, United States Code 115(a)(l)(B)_________________
*Max.Term of Imprisonment: 10 years' imprisonment
*Mandatory Min. Term of Imprisonment (if applicable): N/A


  *Refers only to possible term of incarceration, supervised release and fines. It does not include
       restitution, special assessments, parole terms, or forfeitures that may be applicable.
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*Max. Supervised Release: 3 years
*Max. Fine: $250,000

Count#: 5

Interstate Transmission of Threats

Title 18, United States Code 875(c)
*Max.Term of Imprisonment: 5 years' imprisonment
* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: 3 years
* Max. Fine: $250,000

Count#: 6

Threatening to Assault, Kidnap, and Murder a United States Judge

Title 18, United States Code 115(a)(l)(B)_________________
*Max.Term of Imprisonment: 10 years' imprisonment
*Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: 3 years
* Max. Fine: $250,000




 *Refers only to possible term of incarceration, supervised release and fines. It does not include
       restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                 24-20425-CR-BLOOM/ELFENBEIN
                       Case No.
                                                                                            MP
IN RE SEALED INDICTMENT
                                                                                   Sep 25, 2024
_______________!

                                         SEALED ORDER                                         Miami




         The United States of America, having applied to this Court for an Order sealing this motion,

Indictment, arrest warrant, bond recommendation form, and this Order, and the Court finding good

cause:

         IT IS HEREBY ORDERED that this this motion, Indictment, arrest warrant, bond

recommendation form, and Order shall be filed under seal until the arrest of defendant ERJC

JAMES RENNERT, or until further order of this Court. However, the United States Attorney's

Office and any relevant law enforcement agency may obtain copies of any motion, Indictment,

arrest warrants, order, or other sealed document for purposes of arrest, extradition, or any other



                                                               s;:;
necessary cause.

         DONE AND ORDERED in Miami, Florida, this          ;2         of September 2024.




cc: AUSA Elena Smukler
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA                                           MP
                  24-20425-CR-BLOOM/ELFENBEIN
                        Case No.                                                           Sep 25, 2024

                                                                                                        Miami

IN RE SEALED INDICTMENT                                       FILED UNDER SEAL
--------------------'/

                                       MOTION TO SEAL

       The United States of America, by and through its undersigned Assistant United States

Attorney, respectfully requests that this motion, as well as the Indictment, arrest warrant, bond

recommendation form, and any resulting order be SEALED until the arrest of defendant ERIC

JAMES RENNERT or until further order of this Court, excepting the United States Attorney's

Office and any relevant law enforcement agency, which may obtain copies of the Indictment, arrest

warrant, or other sealed documents for purposes of arrest, extradition, or any other necessary cause,

for the reason that the defendant may flee, the safety of the arresting officers could be

compromised, and the integrity of an ongoing investigation may be comprised, should knowledge

of this motion, Indictment, arrest warrant, and supporting documents become public.

                                                      Respectfully submitted,

                                                      MARKENZY LAPOINTE
                                                      UNITED STATES ATTORNEY


                                              By:E-9-J--�
                                                 Elena Smukler
                                                 Assistant United States Attorney
                                                 Fla. Bar No. 91025
                                                 99 Northeast 4th Street
                                                 Miami, FL. 33132-2111
                                                 Tel: (305) 961-9444
                                                 Elena.Smukler@usdoj.gov
